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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-cv-62127-ALTMAN/Hunt

  CHELSIA BLACKMON,

         Plaintiff,

  v.

  SPIRIT AIRLINES, INC.,

        Defendant.
  _______________________________________/

                         ORDER OF DISMISSAL WITH PREJUDICE

         The parties filed a Joint Stipulation of Dismissal with Prejudice [ECF No. 21] in accordance

  with Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Accordingly, we hereby ORDER and

  ADJUDGE that this matter is DISMISSED with prejudice. Each party shall bear its own fees and

  costs. This case shall remain CLOSED. All pending deadlines and hearings are TERMINATED,

  and any pending motions are DENIED AS MOOT.

         DONE AND ORDERED in the Southern District of Florida on September 18, 2023.




                                                         _________________________________
                                                         ROY K. ALTMAN
                                                         UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
